        Case 2:17-cv-00352-NF-KHR Document 10 Filed 04/19/17 Page 1 of 12




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO

JUAN LUJAN

        Plaintiff,

        vs.                                                 Case No. 2:17-cv-00352-NF-KHR

WAL-MART STORES, INC.

        Defendant.

                     PLAINTIFF JUAN LUJAN’S MOTION TO REMAND

TO THE HONORABLE UNITED STATES DISTRICT COURT:

        COMES NOW JUAN LUJAN (“Plaintiff”) and files this his Motion to Remand and

requests that the case be remanded on grounds that there are defects in removal procedure and the

Court lacks subject matter jurisdiction over this case.

                                  I.         RELIEF REQUESTED

   1. Defendant WAL-MART STORES, INC. failed to meet its burden to establish the

jurisdictional amount in-controversy is met and the Court consequently lacks jurisdiction over the

case. Therefore, defects in the removal procedure exist which make remand appropriate.

   2. Additionally, this proceeding should be remanded to state court because this Court lacks

subject matter jurisdiction pursuant to 28 U.S.C. 1445(c). Plaintiff’s claims “aris[e] under the

workmen’s compensation laws” of the State of New Mexico and therefore may not be removed.

                                       II.     BACKGROUND

   3.    On February 2, 2017, Plaintiff JUAN LUJAN filed his state court complaint in the Third

Judicial District in Dona Ana County, New Mexico against Defendant WAL-MART STORES,

INC. alleging state law claims for unlawful retaliation against him and retaliatory discharge for
                                                                                         1|P a g e
Juan Lujan v. Wal-Mart Stores, Inc.
PLAINTIFF’S MOTION TO REMAND
       Case 2:17-cv-00352-NF-KHR Document 10 Filed 04/19/17 Page 2 of 12




exercising his rights under the New Mexico Workers’ Compensation Act. [See Doc. 1-1, pp. 8-11,

(Plaintiff’s Complaint for Wrongful Termination).]

    4. On March 20, 2017, Defendant WAL-MART STORES, INC. filed a Notice of Removal

of Civil Action and removed this action to this Court. [Doc 1]. The notice states that Plaintiff is

and was at the time this action accrued a citizen of New Mexico. Id. The Notice also states that

Defendant is a corporation formed under the laws of the state of Delaware and whose principal

place of business is in the state of Arkansas. [Doc. 1 at 2]. Relying on McPhail v. Deere & Co.,

the Notice further alleges that “the amount in controversy exceeds the sum of $75,000.00 because

Plaintiff’s allegations reflect that he could potentially recover more than that amount.” [Doc. 1 at

3; 529 F.3d 947 at 954.] Defendant misinterprets the holding in McPhail.

    5. Plaintiff has timely filed this Motion to Remand to challenge defects in the removal

procedure and the Court’s subject matter jurisdiction over the case in accordance with 28 U.S.C.

§ 1447.

    6. In compliance with Local Rule 7.1(a), Plaintiff has conferred in good-faith with Defendant

and Defendant opposes this motion.

                            III.    ARGUMENTS AND AUTHORITIES

                                       A. Standard of Review

    7. Federal removal jurisdiction is statutory in nature and must be strictly construed. See

Shamrock Oil & Gas Corp. v. Sheets, 313 U.S. 100, 108-109 (1941); Pritchett v. Office Depot,

Inc., 404 F.3d 1232, 1235 (10 Cir. 2005) (“[i]t is well established that the statutes conferring

jurisdiction upon the federal courts, and particularly removal statutes, are to be narrowly construed

in light of our constitutional role as limited tribunals.”).

                                                                                            2|P a g e
Juan Lujan v. Wal-Mart Stores, Inc.
PLAINTIFF’S MOTION TO REMAND
       Case 2:17-cv-00352-NF-KHR Document 10 Filed 04/19/17 Page 3 of 12




   8. A party invoking federal jurisdiction has the burden of establishing its propriety. See

Montayo v. Chao, 296 F.3d 952, 955 (10 Cir. 2002); Laughlin v. Kmart Corp., 50 F.3d 871, 873

(10 Cir. 1995). Defendant’s burden is a heavy one and any ambiguities are resolved in favor of

remand. Fajen v. Found Reserve Ins., 683 F.2d 331, 333 (10 Cir. 1982) (noting “all doubts are to

be resolved against removal”). Federal jurisdiction must be rejected if there is any doubt as to the

right of removal. Adams v. Reliance Std. Life Ins. Co., 225 F. 3d 1179, 1182 (10 Cir. 2000) (federal

courts must refrain from exercising jurisdiction unless “certain” jurisdiction has been granted by

Congress); Gaus v. Miles, Inc., 980 F.2d 564, 566 (9 Cir. 1992) (citations omitted).

   9. As for removal procedures, “[a]s a creature of statute, removal comes with statutory

procedures and requirements that are mandatory in nature…[w]hile these procedural requirements

are not jurisdictional in nature, they have been strictly enforced.” McShares, Inc. v. Barry, 979 F.

Supp. 1338, 1342 (D. Kan. 1977) (citations omitted). Accordingly, courts strictly construe removal

statutory procedures and employ a presumption against removal. See Syngenta Crop Prot. Inc. v.

Henson, 537 U.S. 28, 32 (2002); Farmland Nat’l Beef Packing Co. L.P. v. Stone Container Corp.,

98 F. App’x 752, 755-56 (10th Cir. 2004); Laughlin, 50 F.3d at 873; Fajen, 683 F.2d at 333; see

also Am. Fire & Cas. Co. v. Finn, 341 U.S. 6, 17-18, (1951) (“the [removal] jurisdiction of the

federal courts is carefully guarded against expansion by judicial interpretation…”).

   10. Thus, “the removing party has the burden to show that removal was properly

accomplished.” McShares, 979 F. Supp. at 1342. A defect in the removal notice or any “[f]ailure

to comply with the requirement of § 1446(b) constitutes a ‘defect in removal procedure’” that

warrants remand. See Page v. City of Southfield, 45 F.3d 128, 131 (6 Cir. 1995 (citing In re

Continental Casualty Co., 29 F.3d 292, 294 (7 Cir. 1994).

                                                                                           3|P a g e
Juan Lujan v. Wal-Mart Stores, Inc.
PLAINTIFF’S MOTION TO REMAND
       Case 2:17-cv-00352-NF-KHR Document 10 Filed 04/19/17 Page 4 of 12




   11. As more fully discussed below, Defendant’s removal is procedurally defective and the

Court lacks subject matter jurisdiction over the case. This case should be remanded.

   B. Defendant Wal-Mart failed to establish that the amount in controversy requirement
      is met.

   12. As illustrated above, the removing party bears the burden of proving “all jurisdictional

facts and of establishing a right to removal” and “the burden of establishing subject-matter

jurisdiction is on the party asserting jurisdiction.” See Chavez v. Kinkaid, 15 F. Supp. 2d at 1119;

Montoya v. Chao, 296 F.3d 952, 955 (10 Cir. 2002); Laughlin, 50 F.3d at 873.

   13. The amount in controversy is determined by the allegations of the complaint or by

allegations in the notice of removal. See Laughlin, 50 F.3d at 873. A claim for damages “in excess”

of a state court minimum that is less than the federal jurisdictional requisite amount is not sufficient

to establish federal court jurisdiction. Id. at 873-74 (complaint requesting damages “in excess of

$10,000" for each of two employment claims was insufficient to establish jurisdictional amount);

see also Huffman v. Saul Holdings Ltd. Partnership, 194 F.3d 1072, 1077-78 (10 Cir. 1999) (initial

state court pleading stating claim for actual and punitive damages “in excess of $10,000"

insufficient to establish amount in controversy from complaint).

   14. Accordingly, when the jurisdictional amount is not established from the complaint, the

removing defendant must set forth in the notice of removal “underlying facts supporting [the]

assertion that the amount in controversy is met” and “a mere summary [of the plaintiff’s

allegations], of course, does not provide the requisite facts lacking in the complaint.” See Martin

v. Franklin Capital Corp., 251 F.3d 1284, 1289-95 (10 Cir. 2001). Moreover, courts should not

consider pleaded statutory damages unless the statute authorizing such fees is alleged in the state

court complaint or in the notice of removal. See generally Evitt v. Durland, 2000 U.S. App. LEXIS
                                                                                               4|P a g e
Juan Lujan v. Wal-Mart Stores, Inc.
PLAINTIFF’S MOTION TO REMAND
         Case 2:17-cv-00352-NF-KHR Document 10 Filed 04/19/17 Page 5 of 12




29783, at *11-12 (10 Cir. 2000) (appellate court did not consider pleaded request for attorneys’

fees for amount in controversy when the complaint “cites no statute authorizing attorney’s fees”).

      15. In McPhail, the United States Court of Appeals for the Tenth Circuit analyzed which

combination of facts and theories of recovery would support a claim in excess of $75,000.00. See

McPhail v. Deere & Co., 529 F.3d 947, 954 (10th Cir. 2008). The Tenth Circuit outlines various

examples of the evidence that may suffice to support removal, none of which are present here. See

id.

      16. Here, Plaintiff’s Complaint for Wrongful Termination states that he was a sales associate

for Defendant, who terminated him after he exercised his rights pursuant to the Workers’

Compensation Act. [Doc. 1-1 at 7]. Plaintiff’s Complaint does not establish the jurisdictional

amount is met and Defendant’s Notice of Removal does not allege any additional and sufficient

underlying facts to meet its burden to establish the jurisdictional amount is met. Instead,

Defendant’s Notice asserts that the amount in controversy in this case exceeds the sum of

$75,000.00 because Plaintiff’s allegations reflect that he could “potentially recover more than that

amount.” See McPhail v. Deere & Co., 529 F.3d 947, 954 (10th Cir. 2008). Defendant Wal-Mart

provides no evidence that would prove by a preponderance of the evidence that it is possible over

that more than $75,000.00 are at stake in this case. See id. Instead, as evidenced by Plaintiff’s

affidavit testimony, his cause of action does not place $75,000.00 at issue. Exh. 1: Affidavit of Juan

Lujan. At the time he was terminated, Plaintiff was earning $10.15 per hour, while working 35-40

hours per week. Plaintiff began working elsewhere on or about December 22, 2016. Id. Thus,

Plaintiff’s lost wages (before taxes are deducted) are no more than $12,992.00. Id. Even when

taking into account Plaintiff’s other damages, the recoverable amount does not come near to

                                                                                             5|P a g e
Juan Lujan v. Wal-Mart Stores, Inc.
PLAINTIFF’S MOTION TO REMAND
       Case 2:17-cv-00352-NF-KHR Document 10 Filed 04/19/17 Page 6 of 12




exceeding $75,000.00.

   17. Given the limited scope of federal jurisdiction and the presumption against removal, courts

must remand if its jurisdiction is not affirmatively apparent on the record. Laughlin, 50 F.3d at

873. Under these circumstances, Tenth Circuit authority indicates that Defendant failed to meet its

burden to establish the amount in controversy is met in this case. Defendant has not done anything

to prove that more than $75,000.00 is at issue in this case, other than list the damages Plaintiff is

entitled to. This does not satisfy Defendant’s burden and because there are questions as to the

Court’s subject matter jurisdiction, and the record fails to establish the jurisdictional amount is

met, this case should be remanded.

   C. Plaintiff’s claims are non-removable under 28 U.S.C. § 1445(c).

   18. Section 1445(c) of Chapter 28 of the United States Code provides that: “[a] civil action in

any State court arising under the workmen’s compensation laws of such State may not be removed

to any district court of the United States.” 28 U.S.C. § 1445(c). Whether a claim arises under a

state’s worker’s compensation law is a question of federal law. See Grubbs v. General Elec. Credit

Corp., 405 U.S. 699, 705 (1972); Suder v. Blue Circle, Inc., 116 F.3d 1351, 1352 (10 Cir. 1997).

To determine if a claim “arises under” a state’s worker’s compensation law, a court applies the

same framework for analyzing whether a claim “arises under” federal law for purposes of 28

U.S.C. § 1331. Reed v. Heil Co., 206 F.3d 1055, 1059 (11 Cir. 2000).

   19. The Supreme Court has defined the “arises under” language in § 1331 to mean cases where

the Plaintiff’s pleaded complaint “establishes either that federal law creates the cause of action or

that the plaintiff’s right to relief necessarily depends on resolution of a substantial question of

federal law.” See Franchise Tax Bd. of State of Cal. v. Constr. Laborers Vacation Trust for S. Cal.,

                                                                                            6|P a g e
Juan Lujan v. Wal-Mart Stores, Inc.
PLAINTIFF’S MOTION TO REMAND
          Case 2:17-cv-00352-NF-KHR Document 10 Filed 04/19/17 Page 7 of 12




463 U.S. 1, 27-28 (1983). However, it bears note that while the same framework applies, the rules

of statutory construction are different, because as noted above, courts strictly construe removal

statutory procedures and employ a presumption against removal. See Henson, 537 U.S. 28, 32 123

S.Ct. 366, 154 L.Ed.2d 368 (2002); Farmland Nat'l Beef Packing Co. L.P., 98 F. App'x at 755-56;

Laughlin, 50 F.3d at 873; Fajen, 683 F.2d at 333; see also Finn, 341 U.S. 6, 17-18, 71 S.Ct. 534,

95 L.Ed. 702 (1951) ("the [removal] jurisdiction of the federal courts is carefully guarded against

expansion by judicial interpretation…").

      20. Thus, for our purposes, Plaintiff’s claims are “arising under” workmen’s compensation

laws pursuant to § 1445 if Plaintiff’s complaint establishes (1) the [New Mexico Workers

Compensation Act] creates the cause of action or (2) Plaintiff’s right to relief necessarily depends

on resolution of a substantial question of the [New Mexico Workers’ Compensation Act.] Id.

      21. Rubio v. McAnally Enterprises, LLC. Plaintiff is mindful that in Rubio v. McAnally

Enterprises, L.L. C., 374 F. Supp. 2d 1052 (D. N.M. 2005), Judge Black concluded that a New

Mexico claim of retaliatory discharge for filing a worker's compensation claim does not "arise

under the workmen's compensation laws" of New Mexico for purposes of 28 U.S.C. § 1445(c).

See Rubio, 374 F. Supp. 2d at 1054-55. However, it does not appear that the Tenth Circuit Court

of Appeals has addressed this issue. Moreover, Judge Black noted the following in footnote 2 of

Rubio:

              The New Mexico Supreme Court first recognized retaliatory discharge for
              filing a workers' compensation claim in Michaels.1 Based on a 1991
              amendment to the Workers' Compensation Act that prohibited discharging an
              employee for filing a claim, the court held that (1) the amendment provided
              a clear public policy statement that could serve as a predicate for retaliatory
              discharge, (2) the statute's "exclusive remedy" provision did not apply to a

1
    Michaels v. Anglo American Auto Auctions, Inc., 117 N.M. 91, 869 P.2d 279 (1994).
                                                                                                7|P a g e
Juan Lujan v. Wal-Mart Stores, Inc.
PLAINTIFF’S MOTION TO REMAND
         Case 2:17-cv-00352-NF-KHR Document 10 Filed 04/19/17 Page 8 of 12




           claim of retaliatory discharge, and therefore (3) an "independent" cause of
           action should be recognized to protect New Mexico workers who file
           compensation claims. See Rubio, 374 F. Supp. 2d at 1054 [emphasis added].

   22. Accordingly, in view of the rules of statutory construction regarding remand statutes in

general and 28 U.S.C. § 1445(c) in particular (as discussed), and since Judge Black in Rubio

acknowledged that the retaliatory discharge claim arose, at least in part, from "the New Mexico

Supreme Court's interpretation of various provisions of the New Mexico Worker's Compensation

Act (noting "(1) the [1991 amendment to the act] provided a clear public policy statement that

could serve as a predicate for retaliatory discharge" and “(2) the statute's “exclusive remedy"

provision did not apply to a claim of retaliatory discharge, for reasons discussed below, Plaintiff

files this motion to remand and asks the Court to reconsider Rubio and conclude that Plaintiff’s

retaliatory discharge claim is non-removable pursuant to 28 U.S.C. § 1445(c), and to preserve the

issue for potential review by the Tenth Circuit Court of Appeals and/or the United States Supreme

Court.

   23. Here, the second prong of the “arises under” framework is met warranting remand under

28 U.S.C. § 1445(c). Plaintiff’s right to relief necessarily depends on the “resolution of a

substantial question of the New Mexico Workers’ Compensation Act.” Indeed, as Judge Black

acknowledged in footnote 2 of Rubio, the New Mexico Supreme Court was required to resolve

two separate questions of the New Mexico Workers' Compensation Act when it recognized a cause

of action for retaliatory discharge for filing a worker's compensation claim.

   24. First, the Supreme Court was required to interpret a 1991 amendment to the New Mexico

Worker's Compensation Act, entitled "Retaliation against employee seeking benefits; civil

penalty" which provides:

                                                                                          8|P a g e
Juan Lujan v. Wal-Mart Stores, Inc.
PLAINTIFF’S MOTION TO REMAND
       Case 2:17-cv-00352-NF-KHR Document 10 Filed 04/19/17 Page 9 of 12




          A. An employer shall not discharge, threaten to discharge or otherwise
          retaliate in the terms of conditions of employment against a worker who seeks
          workers' compensation benefits for the sole reason that that employee seeks
          workers' compensation benefits. NMSA 1991, Section 52-1-28.2; see
          Michaels, 117 N.M. at 92, 869 P.2d at 280.

The Supreme Court concluded that this amendment "expressly set out the clear mandate of public

policy that was missing when Williams and Bottijliso were decided “that warranted recognition of

a claim for wrongful discharge on grounds that retaliatory discharge for filing a worker's

compensation claim "violated a 'clear mandate of public policy"' under New Mexico law. See

Michaels, 117 N.M. at 92-93, 869 P.2d at 280-81.

   25. Second, the New Mexico Supreme Court was also required to interpret the "exclusivity

bar” under the New Mexico Worker's Compensation Act, which provides:

          The Workers' Compensation Act provides exclusive remedies. No cause of
          action outside the Workers' Compensation Act shall be brought by an
          employee or dependent against the employer or his representative, including
          the insurer,
          guarantor or surety of any employer, for any matter relating to the occurrence
          of
          or payment for any injury or death covered by the Workers' Compensation
          Act.
          NMSA 1978, Section 52- 1-6(E); see Michaels, 1 17 N.M. at 92-93, 869 P.2d
          at 280-81.

The Supreme Court noted "[tlhis general exclusivity provision of the Act does not compel the

conclusion that Section 52-1-28.2 is exclusive" and went on to conclude that "issues involving the

hiring and firing of employees are 'independent of, and separate from, the cause of action

contemplated by the Workers' Compensation Act.'…[tlhus, we cannot accept a construction of

Section 52-1-6 that would force employees to choose between their jobs and seeking remedies

under the Act." See Michaels, 117 N.M. at 92-93, 869 P.2d at 280-8 1 [emphasis added].

   26. For these reasons, and in view of the rules of statutory construction applied to 28 U.S.C.
                                                                                           9|P a g e
Juan Lujan v. Wal-Mart Stores, Inc.
PLAINTIFF’S MOTION TO REMAND
      Case 2:17-cv-00352-NF-KHR Document 10 Filed 04/19/17 Page 10 of 12




§ 1445(c), Plaintiff respectfully believes that Section 1445(c) was broadly construed in Rubio in

favor of removal, when it should have been strictly construed against removal.

   27. As the New Mexico Supreme Court's decision in Michaels makes clear, Plaintiff’s right to

relief for her claim of retaliatory discharge for filing a worker's compensation claim "necessarily

depend[ed] on resolution of substantial questions" of the New Mexico Workers Compensation

Act, which makes her claim against Defendant MTC non-removable pursuant to 28 U.S.C. §

1445(c). Accordingly, this case should be remanded.

   D. Request for attorney’s fees, just costs, and expenses.

   28. Section 1447 of Title 28 of the United States Code provides that: “[a]n order remanding

the case may require payment of just costs and any actual expenses, including attorney fees,

incurred as a result of the removal.” 28 U.S.C. § 1447.

   29. Courts may award attorney’s fees under § 1447(c) when the removing party lacked an

objectively reasonable basis for seeking removal. Porter Trust v. Rural Water Sewer & Solid Waste

Mgmt. Dist. No. 1, 607 F.3d 1251, 1253 (10th Cir. 2010). The standard for awarding fees should

turn on the reasonableness of the removal. Martin v. Franklin Capital Corp., 546 U.S. 132, 141,

126 S. Ct. 704, 163 L. Ed. 2d 547 (2005). Defendant’s removal of this action was unreasonable as

Plaintiff’s claims clearly do not place over $75,000.00 at stake. Moreover, Plaintiff’s claims arise

out of the New Mexico Workers’ Compensation Act, which also makes Defendant’s removal

unreasonable. Defendant’s filing of its Notice of Removal forced Plaintiff to expend unnecessary

costs, expenses, and attorney’s fees. Accordingly, Plaintiff respectfully moves for attorney’s fees,

just costs, and expenses.



                                                                                          10 | P a g e
Juan Lujan v. Wal-Mart Stores, Inc.
PLAINTIFF’S MOTION TO REMAND
      Case 2:17-cv-00352-NF-KHR Document 10 Filed 04/19/17 Page 11 of 12




                              IV.     CONCLUSION AND PRAYER

   30. Defendant’s removal is improper. There are defects in removal procedure and the Court

lacks subject matter jurisdiction over the case. This case should accordingly be remanded.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that his Motion to Remand

be granted and the case remanded to state court for reasons set forth above and for such other relief

to which Plaintiff may show himself justly entitled.

                                                       Respectfully submitted,

                                                       FLORES, TAWNEY & ACOSTA, P.C.

                                                       /s/   Connie J. Flores
                                                       CONNIE J. FLORES
                                                       New Mexico State Bar 26531
                                                       1485 N. Main St., Suite B
                                                       Las Cruces, New Mexico 88001
                                                       Phone: (575)222-1000
                                                       Facsimile: (575)652-4752
                                                       cflores@ftalawfirm.com
                                                       Attorney for Plaintiff

                                 CERTIFICATE OF SERVICE

I hereby certify that on this 19th day of April, 2017, the undersigned filed the foregoing

electronically through the CM/ECF system, which caused the following counsel to be served by

electronic means, as more fully reflected on the Notice of Electronic Filing:

Charlotte Lamont
LITTLER MENDELSON, P.C.
201 Third Street NW, Suite 500
Albuquerque, NM 87102
Phone: (505) 944-9680
Facsimile: (505) 944.9681
clamont@littler.com
Attorney for Defendant


                                                                                           11 | P a g e
Juan Lujan v. Wal-Mart Stores, Inc.
PLAINTIFF’S MOTION TO REMAND
      Case 2:17-cv-00352-NF-KHR Document 10 Filed 04/19/17 Page 12 of 12




Steven G. Biddle
LITTLER MENDELSON, P.C.
2425 East Camelback Road, Suite 900
Phoenix, AZ 85016
Phone: (602) 474-3600
Facsimile: (602) 957-1801
sbiddle@littler.com
Attorney for Defendant

                                         /s/ Connie J. Flores
                                         CONNIE J. FLORES




                                                                     12 | P a g e
Juan Lujan v. Wal-Mart Stores, Inc.
PLAINTIFF’S MOTION TO REMAND
